        Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 1 of 9
EXHIBIT A


                   IN THE SUPERIOR COURT OF WALTON COUNTY

                                  STATE OF GEORGIA


STANLEY G. PETTY                                         CIVIL ACTION FILE NO.
     Plaintiff                                                2022-000071-2

      v.

WALMART STORES, INC. and
WALMART STORES EAST, LP
d/b/a WALMART SUPERCENTER NO. 5252
      Defendants


             PLAINTIFF’S RESPONSES TO DEFENDANT’S FIRST
           INTERROGATORIES AND REQUEST FOR PRODUCTION


      Comes now the Plaintiff, through counsel, and responds to Defendant’s First
Interrogatories and Request for Production as follows:

INTERROGATORY No. 1
           •   Athens Orthopedic Clinic; 1765 Old West Broad Street Building 2, Suite
               200 Athens, Georgia 30606
           •   Piedmont Walton Hospital; 2151 West Spring Street Monroe, Georgia
               30655

INTERROGATORY No. 2
      None at this time.
INTERROGATORY No. 3
      I injured my right foot, ankle, and lower leg. The bone broke in half, and I had to
      have two steel rods placed in my leg to try to fix it. I also received a hairline
      fracture in my elbow.
INTERROGATORY No. 4
      I retired approximately eight (8) years ago.
      Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 2 of 9
EXHIBIT A


INTERROGATORY No. 5
     Approximately 10 accidents. No injuries. Most recent: Summer 2021, Loganville
     Police Department, No Injuries, No Medical Providers. Prior to that, I had an
     accident in Covington, but I can’t remember the date. Covington Police
     Department wrote up a report. There were no injures and no medical providers.
INTERROGATORY No. 6
     Approximately 15 years ago, when I work for Old Dominion, my hand went under
     a conveyor belt. I received medical attention from the doctors retained by my
     employer, Old Dominion.
INTERROGATORY No. 7.
     I can’t remember the exact dates but in the past fifteen years, I have worked for
     the following companies:
               •   Rich’s Warehouse – Dock Worker
               •   George Green’s concrete pouring company – laborer
               •   Carolina Freight – Dock Worker
               •   Road Runner Freight – Dock Worker
               •   George Green’s Concrete pouring company – laborer
               •   Old Dominion – Line Worker
               •   State Foods – Line Worker
               •   Retired approximately 8 years ago
INTERROGATORY No. 8
     I had medical insurance through my employment at Old Dominion, but I can’t
     remember the name of the company.
INTERROGATORY No. 9
     Object. Not relevant to this claim and not reasonably calculated to lead to
     discovery of relevant and admissible evidence.
INTERROGATORY No. 10
     I am unsure of the date I applied for Social Security Benefits, but I applied in
     Covington, Georgia and was granted benefits.
INTERROGATORY No. 11
     None.
INTERROGATORY No. 12
     I have been treated at the following hospitals in the past 15 years:
      Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 3 of 9
EXHIBIT A


               •   Piedmont Athens Regional Medical Center, 2020, 1199 Prince
                   Avenue, Athens, Georgia 30606
               •   Walton Regional Medical Center, 330 Alcovy St. Monroe, Georgia,
                   30655
               •   Clearview Regional Medical Center, 2151 W. Spring St. Monroe,
                   Georgia 30655
               •   Piedmont Walton Medical Center 2151 W. Spring Street, Monroe,
                   Georgia 30655
               •   Eastside Hospital of Gwinnett, 1700 Medical Way, Snellville,
                   Georgia 30078
INTERROGATORY No. 13
     I have used the following pharmacies for my prescription needs in the past 15
     years:
               •   CVS/pharmacy – Loganville, Georgia
               •   Walmart Pharmacy – Loganville, Georgia
               •   Publix Pharmacy – Loganville, Georgia
               •   Kroger Pharmacy – Loganville, Georgia
INTERROGATORY No. 14
     None.
INTERROGATORY No. 15
     I saw a chiropractor in Lawrenceville or Snellville, Georgia years ago; however, I
     cannot remember the name.
INTERROGATORY No. 16
     No.
INTERROGATORY No. 17
     No.
INTERROGATORY No. 18
     After I finished my shopping at the Loganville, Georgia Walmart, I approached
     cashier aisle 3 and pushed my shopping cart against the end of the conveyor belt
     and stepped back preparing to walk around the cart to unload the contents onto
     the conveyor belt. Just as soon as I stepped back with my left foot, my left foot
     slipped on something wet, and it went up into the air. At the same time, my right
     foot slid under the cart and was pinned under the lower rack of the cart. I felt the
     bone break as it became lodged under the cart. The cashier, Mary, got an
     electronic handicap cart for me. I told her I didn’t need that; I needed an
     ambulance and to call 911. I called my mother who was waiting in the car for me
        Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 4 of 9
EXHIBIT A


      outside. She came inside and called for the manager. While I was sitting on the
      floor screaming and holding my leg, my mother and the manager spoke. When
      the EMTs arrived, they took my shoe off and then took me to the hospital.
INTERROGATORY No. 19
      None, other than the cashier, Mary.
INTERROGATORY No. 20
      My mother,
INTERROGATORY No. 21
      None.
INTERROGATORY No. 22
      Plaintiff has not identified expert witnesses for use at trial at this time. This
      response will be supplemented if such experts are retained.
INTERROGATORY No. 23
      None at this time.
INTERROGATORY No. 24
      None at this time.
INTERROGATORY No. 25
      Date of birth:                   . I am widowed. I graduated from Berkmar High
      School in Lilburn, Georgia. Object to drivers license and social security number
      as it is not relevant and not reasonably calculated to lead to discovery of relevant
      and admissible evidence.


        PLAINTIFF’S RESPONSES TO DEFENDANT’S REQUEST FOR
                    PRODUCTION OF DOCUMENTS
      Comes now the Plaintiff, through counsel, and response to defendants first notice

to produce as follows:

Response No. 1
      Copies of all such items currently in Plaintiff’s possession are hereby produced
      electronically through email service to the Defendant’s counsel, Nicholas E. Deeb
      at the following email address: ndeeb@mmatlaw.com.
       Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 5 of 9
EXHIBIT A


Response No. 2
      Copies of all such items currently in Plaintiff’s possession are hereby produced
      electronically through email service to the Defendant’s counsel, Nicholas E. Deeb
      at the following email address: ndeeb@mmatlaw.com.
Response No. 3
      None.
Response No. 4
      Plaintiff reported incident to Walmart’s claims center. They denied his claims.
Response No. 5
      None.
Response No. 6
      None.
Response No. 7
      None.
Response No. 8
      None at this time.
Response No. 9
      Object. Not relevant to this claim and not reasonably calculated to lead to
      discovery of relevant and admissible evidence.
Response No. 10
      Plaintiff has not identified expert witnesses for use at trial at this time. This
      response will be supplemented if such experts are retained.
Response No. 11
      None.
Response No. 12
      None at this time.
Response No. 13
      Plaintiff has not identified expert witnesses for use at trial at this time. This
      response will be supplemented if such experts are retained.
       Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 6 of 9
EXHIBIT A


Response No. 14
      I am retired and have been for approximately the past eight (8) years.
Response No. 15
      None at this time.
Response No. 16
      None at this time.
Response No. 17
      None at this time.
Response No. 18
      None.
Response No. 19
      None.
Response No. 20
      None.
Response No. 21
      None.
Response No. 22
      None.
Response No. 23
      No additional documents at this time.
Response No. 24
      No additional documents at this time.
Response No. 25
      None at this time.
Response No. 26
      None at this time.
Response No. 27
      None.
       Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 7 of 9
EXHIBIT A


Response No. 28
      None.
Response No. 29
      None.
Response No. 30
      None.
Response No. 31
      None at this time.
Response No. 32
      It would have been helpful if a “wet floor” sign was posted. I would have known
      not to step there.
Response No. 33
      None.
Response No. 34
      None at this time.
Response No. 35
      Object. Not relevant to this claim and not reasonably calculated to lead to
      discovery of relevant and admissible evidence.
Response No. 36
      None.
Response No. 37
      None.
Response No. 38
      None.
Response No. 39
      None.
Response No. 40
      None.
        Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 8 of 9
EXHIBIT A


Response No. 41
      None at this time.
Response No. 42
      None.
Response No. 43
      None.
Response No. 44
      None.
Response No. 45
      None.



      This 23rd day of March, 2022.



                                         DICKINSON & WILLIS, LLC


                                         /s/ David F. Dickinson_________________
338 North Broad Street                   David F. Dickinson
Monroe, Georgia 30655                    Georgia Bar No. 221128
770-267-8256                             Attorney for Plaintiff
david@dickinsonwillis.com
         Case 3:22-cv-00038-CDL Document 1-1 Filed 04/04/22 Page 9 of 9
EXHIBIT A


                              CERTIFICATE OF SERVICE

       I certify that I have this day served a copy of the foregoing PLAINTIFF’S RESPONSES

TO DEFENDANT’S FIRST INTERROGATORIES AND REQUEST FOR PRODUCTION

on Nicholas E. Deeb, McClain & Merrit, P.C., 3445 Peachtree Road, N.E. Suite 500 Atlanta,

Georgia 30326 by United States Postal Service with proper postage affixed.


       This 23rd day of March, 2022.


                                                   DICKINSON & WILLIS, LLC



                                                   /s/ David F. Dickinson_________________
338 North Broad Street                             David F. Dickinson
Monroe, Georgia 30655                              Georgia Bar No. 221128
770-267-8256                                       Attorney for Plaintiff
david@dickinsonwillis.com
